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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 22-cv-22987-ALTMAN/Reid

  JESUS GONZALEZ,

        Plaintiff,
  v.

  PINCHO FACTORY #2, INC., et al.,

        Defendants.
  _________________________________________/

                                                ORDER

        The parties have settled this case. See Notice of Settlement [ECF No. 24]. Accordingly, the

  Court hereby ORDERS and ADJUDGES as follows:

        1. This case shall be administratively CLOSED without prejudice to the parties. The parties

             shall file a stipulation of dismissal by January 27, 2023.

        2. If the parties fail to complete the expected settlement, any party may ask the Court to

             reopen the case.

        3. All pending deadlines are TERMINATED, and any pending motions are DENIED AS

             MOOT.

        DONE AND ORDERED in the Southern District of Florida on November 22, 2022.




                                                           _________________________________
                                                           ROY K. ALTMAN
                                                           UNITED STATES DISTRICT JUDGE

  cc:   counsel of record
